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                               United States District Court
                              Southern District of New York


Virginia L. Giuffre,

               Plaintiff,                     Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/

     PLAINTIFF’S UNREDACTED REPLY IN SUPPORT OF MOTION TO COMPEL
              DEFENDANT TO ANSWER DEPOSITION QUESTIONS

       Plaintiff Virginia Giuffre, by and through her undersigned counsel, hereby files this

Reply in Support of her Motion to Compel Defendant to Answer Deposition Questions. Instead

of allowing Ms. Giuffre to take a full and complete deposition, Defendant flatly refused to
                                                                                           -
answer questions critical to the key issues in this case. Contrary to Defendant’s assertions, Ms.

Giuffre is not engaged in a “fishing expedition” but rather seeks to ask highly-focused questions

specifically relevant to this case. In particular, Ms. Giuffre seeks to ask the Defendant questions

regarding her participation in or knowledge of sexual activities connected with Jeffrey Epstein’s

sexual abuse of females. Such questions are entirely appropriate in the discovery phase of this

case, particularly where any answers will be maintained as confidential under the Protective

Order entered in this case.

       As the Court is aware from previous pleadings, at the heart of this case lies the issue of

Defendant’s knowledge that Ms. Giuffre was sexually abused by Jeffrey Epstein. Indeed, as the

Defendant boldly acknowledges in her response (at p. 2), she intends to argue at trial that (among

other things) she “never arranged for or asked [Ms. Giuffre] to have sex with anyone.” At trial,


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Ms. Giuffre intends to strongly disprove Defendant’s false assertions and to demonstrate that

Defendant recruited Ms. Giuffre to be involved in massages of a sexual nature with Epstein.

       To develop evidence to support her position, Ms. Giuffre recently deposed Defendant

about the central subjects in her case. Defendant flatly refused to answer a number of questions,

and for the majority of the others, gave varying versions of “I don’t recall.” For example, when

faced with the police report which contains statements from approximately thirty (30) different

victims during a time frame which the Defendant acknowledges she was actively working for

Epstein at his various homes, Defendant challenged the veracity of the victims’ reports:

       “Q. Are you saying these 30 girls are lying when they gave these reports to police
       officers?
       A. I’m not testifying to their lies. I’m testifying to Virginia’s lies.”

See Declaration of Sigrid McCawley (“McCawley Decl.”) at Exhibit 1, April 22, 2016

Deposition of Defendant at p. 89-90; 83-84. While Defendant was working with Epstein during

the time period when these underage girls were visiting Jeffrey’s home, Defendant claimed to be

at the house maybe once in 2005. Id. at p. 84. Yet, according to flight manifests, in that same

general time period, Defendant was listed as a passenger at least eleven times either landing in or

departing from West Palm Beach, Florida on Jeffrey Epstein’s private plane. See McCawley

Decl. at Exhibit 1, April 22, 2016 Depo Tr. at p. 84; see also McCawley Decl. at Composite

Exhibit 2, Flight Logs from Jeffrey Epstein’s private planes.

       Moreover, again according to flight logs, Defendant was on Epstein’s planes over 300

times – including 23 times with Ms. Giuffre when Ms. Giuffre was underage. Yet, quite

remarkably, Defendant claimed she “couldn’t recall” even one of those flights. See McCawley

Decl. at Exhibit 1, April 22, 2016 Deposition of Defendant at p. 120-122.




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          Defendant even testified that she did not recall having Ms. Giuffre at her London

townhome with                      . Defendant stuck to this incredible story despite flight logs

establishing her traveling to London with Ms. Giuffre and despite a photo~aph the three-Ms.

Giuffre,                   and Defendant- all standing together in Defendant's home. See

Mccawley: Deel. at Exhibit 1, A ril 22, 2016 De osition of Defendant at p. 108-11 1.

Defendant's deP.osition consisted almost entirelY. of "I don't recalls" or "I refuse to answer tha

    uestion" 1 and also included a hy:sical outburst that knocked the court re orter's com uter of£

the conference room table. See Mccawley: Deel. at Exhibit 1 April 22 2016 Deposition off

Defendant at 207-208.

                              uestions that Defendant refused to answer at her de osition were

number of guestions desi@ed to show that Defendant was well aware that for EP.stein

"massage" was actually: a code word sexual activi!y: - i.e., not a thera eutic massage but ratheri

activi!y: that involved sexual ~atification for Epstein. Defendant refused to answer all sucli

    uestions, asserting that they: involved "private adult sexual relationshi s" which did not "relate

,i n any: way_'.' to Ms. Giuffre's claims. Id. at . 4. But Defendant's involvement in sucli

"relationshiP.s" with EP.stein would show that she knew full well the fate that was in store for Ms.

Giuffre when she accepted Defendant's invitation to come and provide "massages" to Epstein.

Defendant admitted that she worked for Epstein from 1992 to 2009. See Mccawley Deel. ai



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  For example, when asked:
        "Q. Have you ever said to anybody that you recrnit girls to take the pressure off you, so you
won't have to have sex with Jeffrey, have you said that?
        A. You don't ask me questions like that. First of all, you are tiying to ti·ap me, I will not be
trapped. You are asking me if I recrnit. I told you no. Girls meaning underage, I ah"eady said I don't do
that with underage people and as to ask me about a specific conversation I had with language, we talking
about almost 17 years ago when this took place. I cannot testify to an actual conversation or language
that I used with anybody at any time."

See Mccawley Deel. at Exhibit 1, April 22, 2016 Depo Tr. at p. 94-95.


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Exhibit 1, April 22, 2016 Deposition of Defendant at p. 10-11, 410. As the Court knows, the

Palm Beach Police Report demonstrates multiple incidents of “massages” being given by

untrained minor children that involved sexual acts. See McCawley Decl. at Exhibit 3, Palm

Beach Police Report. Defendant is also identified in that Palm Beach Police Report. See

McCawley Decl. at Exhibit 3, Palm Beach Police Report at p. 75-76. And the details of

Epstein’s sexual activities with Defendant (for example) are highly relevant to this case, because

they will help corroborate Ms. Giuffre’s testimony that, while she was underage, she also

engaged in sexual activity of an identical nature with Epstein.

       To allow Defendant to avoid answering these questions would preclude Ms. Giuffre from

getting critical evidence in this case. Consider, for example, Defendant recruiting an eighteen

year-old girl to be an “assistant,” bringing that girl to Epstein’s home, telling her she could make

more money if she would give Epstein a massage, and then instructing her to give a massage that

involved sexual acts. Under Defendant’s theory of discovery, Ms. Giuffre would be precluded

from deposing her on that topic because the actions would culminate in “consensual adult sex.”

Yet, that scenario would fully validate the pattern of events that occurred with Ms. Giuffre when

she was under the age of eighteen. It would obviously show a “modus operandi” by Jeffrey

Epstein and Defendant, which is clearly admissible under Fed. R. Evid. 404(b).

       Moreover, such inquiries are crucial to impeaching the Defendant at trial. During her

deposition, Defendant attempted to characterize her work for Epstein as nothing more than a

normal job handling hiring for the various mansions. See McCawley Decl. at Exhibit 1, April

22, 2016 Deposition Tr. of Defendant at p. 9-12. Ms. Giuffre should be able to contest that

assertion by having Defendant fully answer questions about whether that alleged “job” involved




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sexual activities including orchestrating the hiring of females and converting massages into

sexual encounters.

       Defendant attempts to paint the picture that Ms. Giuffre somehow is interested in all

sexual relationshi s that the Defendant may have been involved with. That is not true. Ms.

Giuffre has no intention of asking unbridled uestions. To be clear, Ms. Giuffre intends to askl

Defendant onl     uestions that involve the followin~    i-y narrow and crucial subject areas: 1]

Defendant's sexual relationshi with Epstein from 1992 to 2009 - the time eriod in which sh

iWorked for Jeffrey Epstein and which Epstein (with the assistance of Defendant) was engaging in

sexual acts with females under the cover of "massage"; 2 Defendant's sexual interactions wiili

  y_£erson in Epstein's resence durin that time eriod; 3 Defendant's sexual activities a

E stein's residences including..~ J ~rivate island "Little St. Jeffs" or his aircraft during tha

time eriod; (4) Defendant's sexual activities with identified articipants in Epstein's sexual

abuse during that time period· and (5) Defendant's sexual interactions that occurred during o

llirou~ what began as a "massage"; and (6) Defendant's interactions with females to introduce

to JeffreY. Epstein for the ~ose of erformin work, includin sexual massa es.

       Defendant claims that such uestions are a mere "fishing ex edition" withou

• cknowledging the fact that these uestions go to critical issues in this case. Other witnesse

have testified regarding Defendant's involvement in recruiting females for sex under the cover of

 "massage." Durin the investigation of JeffreY. Epstein, certain household staff was deposed.




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       [n sum   at the core of this case are statements made by Ms. Giuffre that she was recruited

hY. Defendant, to be aid as a masseuse, ):'.et was enticed or coerced into enga ing in sexual act

with E stein and Defendant for mone . She has further ex lained that the recruitment of female

through the offer of some legitimate P.Osition was the !YP.ical wa in which Defendant and

E stein lured unsus ecting females to the house before converting the relationshi into a sexual



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one. Ms. Giuffre has described the frequency of these “massages”, the sexual tendencies of the

participants, the manner in which the massages became sexual in nature, and Defendant’s role at


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each stage.

       In response, Defendant has called Ms. Giuffre’s entire account “untrue” and “obvious

lies.” Defendant has instead tried to portray her role as nothing more than an Epstein employee

performing typical household management duties. Any personal knowledge Defendant has of

Epstein’s sexual tendencies, habits, and use of massage for sex is entirely relevant to either

corroborate Ms. Giuffre’s account. Likewise, Defendant’s participation in any sexual acts with

Epstein, in his presence, on his properties, using his mode of converting massages into sex, or

with females will directly corroborate Ms. Giuffre’s account. On the other hand, without access

to the answers to these inquiries, Ms. Giuffre will be unable to expose the bias of Defendant,

unable to thoroughly cross-examine Defendant’s position that she was just a lowly employee,

and most importantly unable to demonstrate through the Defendant’s own admissions that Ms.

Giuffre’s statements about Epstein and Defendant were absolutely true – and not “obvious lies.”

       Finally, Defendant fails to recognize that, for the discovery purposes at issue here,

relevance “is an extremely broad concept.” Am. Fed'n of Musicians of the United States &

Canada v. Sony Music Entm't, Inc., No. 15CV05249GBDBCM, 2016 WL 2609307, at *3

(S.D.N.Y. Apr. 29, 2016). And once relevance is shown, “the party resisting discovery bears the

burden of demonstrating that, despite the broad and liberal construction afforded the federal

discovery rules, the requests are irrelevant, or are overly broad, burdensome, or oppressive.” Id.

Here, the requests are not “overly broad” as Ms. Giuffre’s specific explanations of the targets of

her questions make clear. Moreover, answering the questions is not “oppressive,” particularly

given the fact that Defendant has placed all substantive aspects of the Deposition under seal. Of




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course, once Defendant answers the question – and her answers are placed under seal – the

parties can file any further motions that may be required to determine whether the answers may

be introduced at trial.

                                           CONCLUSION

        Defendant should be ordered to answer questions regarding sexual activity connected

with Epstein’s sexual abuse and sexual trafficking organization as specifically identified above

Dated: May 11, 2016

                                                Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 11th day of May, 2016, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system. I also certify that the

foregoing document is being served this day on the individuals identified below via transmission

of Notices of Electronic Filing generated by CM/ECF.

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                                                    /s/ Sigrid S. McCawley
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